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            EXHIBIT 6
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Attorneys for Defendant Apple Inc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------x
                                     :
UNITED STATES OF AMERICA,            :
                                     :
                    Plaintiff,
                                     :
     v.                              :
                                     : 12 Civ. 2826 (DLC)
APPLE INC., et al.,                  :
                                     :
                    Defendants.      :
                                     :
                                     :
-------------------------------------x

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                                           x
THE STATE OF TEXAS,                        :
THE STATE OF CONNECTICUT, et al.,          :
                                           :
                     Plaintiffs,           :
                                           :
       v.                                  : 12 Civ. 03394 (DLC)
                                           :
PENGUIN GROUP (USA) INC., et al.,          :
                                           :
                     Defendants.           :
                                           :
                                           x
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                                                                          USA v. Apple Inc., et al.
                                                                            12-CV-02826-DLC


                                                                              DX-721
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opinions rest on an evaluation of competitive indicia, including changes in output and prices, in

the alleged relevant market as a whole.

       16.      Through my analysis of these data, I sought to convey all of the information that

was available to me about the alleged relevant market. Thus, I looked at the full range of

transactional data produced in this litigation and compared price and output trends in the pre-

agency period (from February 2008 through March 2010) with the post-agency period (from

April 2010 through March 2012).

       17.      It is also my opinion that the shift from the wholesale model to the agency model

represented a significant change in the business model for selling eBooks. Some of the effects of

this change in business model, including any procompetitive benefits, would not be immediately

apparent in the transactional data. Analysis by Plaintiffs’ experts, who for the most part evaluate

indicia of competition over shorter durations of time, is incapable of measuring any longer-term

effects of the competition and innovation in the alleged relevant market post-agency.


   III. Average Prices of eBooks in the Alleged Relevant Market Fell Following the Agency
           Agreements

             A. Average Retail Prices of eBooks in the Alleged Relevant Market Declined

       18.      The average retail price of eBooks in the alleged relevant market was lower

during the post-agency period than during the pre-agency period. The weighted-average retail

price for an eBook was $7.97 between February 2008 and March 2010 (the period prior to the

adoption of agency for which comparable transactional data were produced), compared with

$7.34 between April 2010 and March 2012 (the period after the initial adoption of agency for

which comparable transactional data were produced). I have prepared several demonstrative

exhibits to illustrate my conclusions. Tab 4 illustrates that the average retail price in the relevant




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statistically significant difference in the growth rate of eBook sales after the agency agreements

compared to prior to the agreements.

       37.     Professor Ashenfelter further concedes that he cannot conclude that Publisher

Defendants sold fewer eBooks (relative to his Random House benchmark) in the post-agency

period. As he testified during his deposition, Professor Ashenfelter has not ruled out the

possibility that relative output of Publisher Defendants’ titles did not decrease post-agency,

because, rather than buying fewer books, consumers could simply have purchased a “different

mix” of titles. (Snyder Decl., Ex. B at 121:20–123:3.) Professor Ashenfelter’s analysis has a

number of additional flaws: he examined only six months of sales after the first agency

agreement, examined only certain of Publisher Defendants’ titles, and used Random House as a

benchmark, even though he admitted that his results may have been biased by Amazon’s heavy

promotion of Random House titles at the time. (Id. at 110:15–111:17.)




   V. Consumers Benefited from an Increase in Low-Priced Books Following the Agency
        Agreements

       39.     The empirical evidence shows that eBook consumers benefitted from the

tremendous growth in the independent publisher and self-publisher segments of the alleged

relevant market following implementation of the agency agreements. Many of these publishers

offered low-priced alternatives to eBooks published by Publisher Defendants. Plaintiffs’ experts

agree that eBooks published by independent publishers and self-published authors are substitutes

for those titles published by Publisher Defendants. (Snyder Decl., Ex. A at 335:2–14; Ex. C at

91:2–25.)




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